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 5
     Attorney for Defendant
     VI A. LE
 6
                              IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 7

 8

     UNITED STATES OF AMERICA,                        )       No. CR. S-10-443 TLN
 9
                                                      )
                                                      )
10           Plaintiff,                               )       STIPULATION REGARDING
                                                      )       EXCLUDABLE TIME PERIODS
11
     v.                                               )       UNDER SPEEDY TRIAL ACT;
                                                      )       FINDINGS AND ORDER
12
     VI A. LE,                                        )
                                                      )       Date: September 19, 2013
13
                                                      )       Time: 9:30 a.m.
             Defendant.                               )       Judge: Honorable Troy L. Nunley
14
                                                      )
                                                      )
15
                                                      )
16
             The United States of America through its undersigned counsel, Todd D. Leras, Assistant
17
     United States Attorney, together with counsel for defendant Vi A. Le, John R. Manning, Esq.,
18

19   hereby stipulate the following:

20        1. By previous order, this matter was set for status conference on August 29, 2013.
21
          2. By this stipulation, defendants now move to continue the status conference until
22
     September 19, 2013, at 9:30 a.m., and to exclude time between August 29, 2013 and September
23

24
     19, 2013 under the Local Code T-4 (to allow defense counsel time to prepare).

25        3. The parties agree and stipulate, and request the Court find the following:
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             a. Counsel for the defendant needs additional time to meet with the defendant (with
27
                 interpreter) in order to complete their review of the discovery; investigation reports,
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        discussion and analysis of relevant USSG calculations; and, review the plea
 1

 2      agreement.

 3   b. This case includes 526 pages of discovery as well as one disc of video.
 4
     c. The defendant requires the services of a Cantonese interpreter in order to
 5
        communicate effectively with counsel.
 6

 7
     d. This case is one of a series of cases evolving from a lengthy DEA/Elk Grove PD/Sac

 8      SO investigation into widespread use of vacant home in the Elk Grove area (and Bay
 9      Area) as "grow houses." Many, if not all, of the defendants (and witnesses) in this
10
        series of cases speak Cantonese (or another dialect) requiring the use of an interpreter.
11
        As indicated, this case is part of a much larger operation focusing on indoor grows in
12

13      South Sacramento and Elk Grove. It has been remarkably productive – resulting in

14      the seizure of thousands of plants, numerous search warrants, and the arrest of several
15
        dozen defendants (the vast majority of whom speak either Cantonese, Vietnamese,
16
        Mandarin, or Hakka). Co-coordinating meeting between the Parties has proved
17
        challenging.
18

19   e. Counsel for defendant believes the failure to grant a continuance in this case would

20      deny defense counsel reasonable time necessary for effective preparation, taking into
21
        account the exercise of due diligence.
22
     f. The Government does not object to the continuance.
23
     g. Based on the above-stated findings, the ends of justice served by granting the
24

25      requested continuance outweigh the best interests of the public and the defendant in a

26      speedy trial within the original date prescribed by the Speedy Trial Act.
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                                              2
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           h. For the purpose of computing time under the Speedy Trial Act, 18 United States Code
 1

 2             Section 3161(h)(7)(A) and (B)(iv) within which trial must commence, the time period

 3             of August 29, 2013 to September 19, 2013, inclusive, is deemed excludable pursuant
 4
               to 18 United States Code Section 3161(h)(7)(A) and (B)(iv) corresponding to Local
 5
               Code T-4 because it results from a continuance granted by the Court at defendant’s
 6

 7
               request on the basis of the Court’s finding that the ends of justice served by taking

 8             such action outweigh the best interest of the public and the defendant in a speedy
 9             trial.
10
        4. Nothing in this stipulation and order shall preclude a finding that other provisions of the
11
           Speedy Trial Act dictate that additional time periods are excludable from the period
12

13         within which a trial must commence.

14   IT IS SO STIPULATED.
15
     Dated: August 27, 2013                                      /s/ John R. Manning
16                                                               JOHN R. MANNING
                                                                 Attorney for Defendant
17                                                               Vi A. Le
18
     Dated: August 27, 2013                                      Benjamin B. Wagner
19                                                               United States Attorney

20                                                               by:/s/ Todd D. Leras
                                                                 TODD D. LERAS
21
                                                                 Assistant U.S. Attorney
22

23
                                                 ORDER
24
     IT IS SO FOUND AND ORDERED this 29th day of August, 2013.
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                                                         Troy L. Nunley
                                                         United States District Judge
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